Case 2:22-cv-08483-SVW-SK Document 1 Filed 11/19/22 Page 1 of 30 Page ID #:1



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 6

 7                          UNITED STATES DISTRICT COURT
 8
                           CENTRAL DISTRICT OF CALIFORNIA

 9
       UNITED AFRICAN-ASIAN                    Case No:
 10    ABILITIES CLUB, ON BEHALF
 11
       OF ITSELF AND ITS                       COMPLAINT
       MEMBERS; JAMES LEE, An
 12    Individual                              DISCRIMINATORY
 13                                            PRACTICES
                           Plaintiffs,         [US Fair Housing Act of 1988 [42
 14
                                               U.S.C. §§ 3600 et seq, §3604(c),
 15          v.                                §3604(f)(1-3), et seq.; CA
                                               Government Code 12925, 12927,
 16
       3729 MCLAUGHLIN AVENUE                  12955; CA Civil Code §§ 51, 52,
 17    APARTMENTS, LLC; AND                    54.3
 18
       DOES 1 THROUGH 10, Inclusive
                                               DEMAND FOR JURY TRIAL
 19                        Defendants.
 20                                      INTRODUCTION
 21
      1.    Plaintiffs make the following allegations in this civil rights action:
 22                              JURISDICTION AND VENUE
 23   2.      The federal jurisdiction of this action is based on the 42 U.S.C. §§ 3601,
 24   3604 et. seq. - the U.S. Fair Housing Act Amendments of 1988 (Defendants’
 25
      apartment property consist of four (4) or more residential units), and 42 U.S.C. §
 26
      12101 et. seq., the federal Americans With Disabilities Act. Venue is proper in this
 27
      United States District Court for the Central District of California pursuant to 28
 28

                       1
                                                                                     COMPLAINT
                                                                                        CASE #
Case 2:22-cv-08483-SVW-SK Document 1 Filed 11/19/22 Page 2 of 30 Page ID #:2



 1
      U.S.C. § 1391(b), because a substantial part of Plaintiffs’ claims arose within said
 2
      Judicial District.
 3
                               SUPPLEMENTAL JURISDICTION
 4
      3.      This United States District Court for the Central District of California has
 5
      supplemental jurisdiction over the California state claims as alleged in this
 6
      Complaint pursuant to 28 U.S.C. § 1367(a).
 7
                    NAMED DEFENDANTS AND NAMED PLAINTIFFS
 8
      4.     The term Plaintiffs as used herein specifically include the corporate Plaintiff
 9
      entity known as the United African-Asian Abilities Club, On Behalf Of Itself And Its
 10
      Members (hereinafter referred to as “Club” or “UAAAC”); and the individual
 11
      Plaintiff JAMES LEE (hereinafter referred to as “LEE” or the “named Individual
 12
      Plaintiff”. The Plaintiff Club and Plaintiff LEE are sometimes collectively referred
 13
      to as the “named Plaintiffs” or “Plaintiffs”.
 14
      5.     Plaintiff United African-Asian Abilities Club (UAAAC) is registered and in
 15
      good standing as a Nevada corporation. The named individual Plaintiff LEE is a
 16
      member of the Plaintiff Club organization.
 17
      6.   Plaintiffs are informed, believe, and thereon allege that named Defendant 3729
 18
      MCLAUGHLIN AVENUE APARTMENTS, LLC is the operator of the apartment
 19
      rental business known as 3729 Mclaughlin Avenue Los Angeles, CA Apartments
 20
      located at 3729 Mclaughlin Avenue Los Angeles, CA 90066. Plaintiffs are
 21
      informed, believe, and thereon allege that Defendant 3729 MCLAUGHLIN
 22

 23
      AVENUE APARTMENTS, LLC is the owner, operator, and/or lessor of the real

 24
      property located at 3729 Mclaughlin Avenue Los Angeles, CA 90066 (hereinafter

 25
      referred to as the “Property”).

 26
      7.     Defendant 3729 MCLAUGHLIN AVENUE APARTMENTS, LLC is, and at

 27
      all times mentioned herein were, a business or corporation or franchise, organized

 28

                           2
                                                                                 COMPLAINT
                                                                                    CASE #
Case 2:22-cv-08483-SVW-SK Document 1 Filed 11/19/22 Page 3 of 30 Page ID #:3



 1
      and existing and/or doing business under the laws of the State of California.
 2
      Defendants Does 1 through 10, were at all times relevant herein subsidiaries,
 3
      employers, employees, and/or agents of the named Defendants.
 4
                                   CONCISE SET OF FACTS
 5
      8.    The named Individual Plaintiff Lee has hip and knee conditions, uses a device
 6
      for mobility, is unable to walk any distance, and also has a vision disability. Plaintiff
 7
      Lee is also a member of the Plaintiff Club. The individual Plaintiff Lee had specific
 8
      dates wherein he intended to go the Defendant’s Property to access Defendants’
 9
      rental services. Plaintiff Lee has actual knowledge of the overt and obvious physical
 10
      and communication barriers at Defendants’ Property. Plaintiff Lee determined that
 11
      the open and obvious physical barriers that exist at Defendants’ Property directly
 12
      related to his disabilities, and that it would be impossible or extremely difficult for
 13
      him to physically access Defendants’ on-site rental services. See ¶¶ 25. Plaintiff
 14
      Lee had knowledge of access barriers at the Property and determined that it would be
 15
      futile gesture for him to go to the Property on the date that he had intended. The
 16
      named Individual Plaintiff Lee was deterred by his actual knowledge of the physical
 17
      and communication barriers that exist at Defendants’ Property and also Defendants’
 18
      website communication barriers. As used herein, website means any internet website
 19
      where Defendants control the content. Exhibit B states the websites controlled by
 20

 21
      Defendants. Plaintiff Lee also attempted to access Defendants’ rental services on

 22
      Defendants websites but experienced great difficulty due to Defendants’ failure to

 23
      provide accessible website features.

 24
      9. The named Individual Plaintiff Lee attempted to use Defendants’ website to

 25
      access Defendants’ online rental services, but had great difficulty due to his

 26
      disabilities. The named Individual Plaintiff Lee also could not determine from

 27
      Defendants’ website content whether Defendants’ rental services at the property or
 28

                       3
                                                                                   COMPLAINT
                                                                                      CASE #
Case 2:22-cv-08483-SVW-SK Document 1 Filed 11/19/22 Page 4 of 30 Page ID #:4



 1
      off the property, and common areas at the property were physically accessible to
 2
      him. The named Individual Plaintiff Lee requested that Plaintiff Club assist him to
 3
      obtain information regarding the physical accessibility of Defendants’ on-site office
 4
      where Defendants’ offer its rental services. In response to the named Individual
 5
      Plaintiff’s request, Plaintiff Club sent one of its members to Defendants’ physical on-
 6
      site office. The named Individual Plaintiff personally reviewed all the information
 7
      and photographs of Defendants’ property. As a result, the named Individual Plaintiff
 8
      has actual knowledge of the overt and obvious physical and communication barriers
 9
      at Defendants’ Property. The named Individual Plaintiff determined that the open
 10
      and obvious physical barriers that exist at Defendants’ Property directly related to his
 11
      disabilities, and that it would be impossible or extremely difficult for him to
 12
      physically access Defendants’ on-site rental services. See ¶¶ 25. The named
 13
      Individual Plaintiff Lee had actual knowledge and determined that it would be futile
 14
      gesture for him to go to the Property on the date that he had intended. The named
 15
      Individual Plaintiff was deterred by his actual knowledge of the physical and
 16

 17
      communication barriers that exist at Defendants’ Property and website. The named

 18
      Individual Plaintiff made a written request to Defendants’ for an accommodation to

 19
      have equal access to Defendants’ rental services and to eliminate the communication

 20
      and physical barriers to Defendants’ rental services, both online and at the property.

 21
      At the end of this action, the named Individual Plaintiff Lee intends to return to

 22
      Defendants’ website and physical office on or off the property location to obtain

 23
      rental information and verify that the communication and physical barriers to

 24
      Defendants’ rental services are removed.
 25
      10.   The named Plaintiff Club is an organization that advocates on the behalf of its

 26
      members with disabilities when their civil rights and liberties have been violated.

 27
      Plaintiff Club and Plaintiff Lee investigated Defendants’ websites and apartment

 28

                       4
                                                                                 COMPLAINT
                                                                                    CASE #
Case 2:22-cv-08483-SVW-SK Document 1 Filed 11/19/22 Page 5 of 30 Page ID #:5



 1
      Property in October, 2022, and in November, 2022. The named Plaintiffs
 2
      investigated Defendants apartment property and Defendants websites. Plaintiff Club
 3
      member Sharon Riguer investigated the Property on the Internet websites.
 4
      Additional Plaintiff Club members investigated Defendants websites and found that
 5
      they did not provide equal access. The results of the research from Club Member
 6
      Sharon Riguer are contained in the Exhibit B to this Complaint. Club members
 7
      ascertained that Defendants’ rental services at Defendants Property were not
 8
      physically accessible to Plaintiff Lee by a Club member with a disability who went
 9
      to Defendants’ apartment Property, and said Club member attempted to access
 10
      Defendants’ on-site rental services.
 11
      11.   Plaintiff Club diverted its time and resources from its normal purposes
 12
      because of Defendants’ service, policy, program and physical barriers to Defendants
 13
      rental services at Defendants’ websites and Property. Club personnel conducted
 14
      detailed Internet searches to determine if Defendants provide large print, deaf
 15
      interpreter, therapy animal, the required reasonable accommodation policy, and
 16
      required reasonable modification policy.    Further, the Club retained contractors to
 17
      investigate said policies, to survey the property, to photograph the property, to
 18
      investigate when the Property was constructed, to investigate the Property ownership
 19
      and to have an access report prepared. Plaintiff Club also diverted staff to
 20
      investigate Defendants' Internet presence to determine compliance with the FHA and
 21
      ADA. Plaintiff Club also investigated Defendants' written rental materials such as
 22

 23
      brochures, rental applications and leases. Moreover, Plaintiff Club made an oral

 24
      investigation to ascertain Defendants' companion animal, deaf interpreter and

 25
      reasonable accommodation and reasonable modification policies. Plaintiff Club also

 26
      caused a physical access consultant to be retained to survey Defendants' facility.

 27
      Plaintiff Club’s findings regarding Defendants’ rental services and facilities were

 28

                       5
                                                                                 COMPLAINT
                                                                                    CASE #
Case 2:22-cv-08483-SVW-SK Document 1 Filed 11/19/22 Page 6 of 30 Page ID #:6



 1
      incorporated into an Access Report. The Access Report also details the known overt
 2
      and obvious physical access violations at the Property, but it is not intended as an
 3
      exhaustive list of existing violations. Due to these necessary activities to investigate,
 4
      Plaintiff Club’s time and resources were diverted from its normal activity. Plaintiff
 5
      Club suffered injury and also suffered monetary damages due to the diversion of the
 6
      Club’s resources from its normal purposes.
 7
      12.   Plaintiffs allege that Defendants control, operate, and maintain web pages at
 8
      different apartment websites where Defendants offer its rental services.
 9
      Additionally, Defendants have a physical office location at the Property where they
 10
      also offer their rental services.
 11
      13.   Plaintiffs allege that Defendants’ websites have a close nexus to Defendants’
 12
      physical site rental services because the websites refer to Defendants’ rental services
 13
      that are offered at Defendants’ actual physical office on or off the site. Therefore,
 14
      Plaintiffs allege that the websites are also places of public accommodation.
 15
      Defendants control the websites to the extent that Defendants can change the website
 16
      content to make modifications to comply with the FHA and ADA. Therefore,
 17
      Plaintiffs allege that Defendants can modify the content of Defendants’ websites to
 18
      improve access for Plaintiffs and people with disabilities.
 19
      14.    In this case, the named Plaintiffs allege that the Defendants failed to provide a
 20
      TTY number or the text messaging system for Plaintiffs and other people that are
 21
      deaf or people with speech conditions. Plaintiff Club members have a speech
 22

 23
      disability. Moreover, Plaintiff Club alleges that the Defendants did not modify their

 24
      websites to eliminate non-readable text to allow the blind and people with low vision

 25
      to use the screen reader software to access the information on the website, yet they

 26
      also failed to use large print on their websites. See Exhibit B to this Complaint.

 27
      Plaintiffs assert that most popular screen reader programs are called Jobs Access

 28

                        6
                                                                                  COMPLAINT
                                                                                     CASE #
Case 2:22-cv-08483-SVW-SK Document 1 Filed 11/19/22 Page 7 of 30 Page ID #:7



 1
      With Speech or “JAWS” and Apple’s VoiceOver Software. Defendants actions
 2
      discriminate against Plaintiff Club, specifically Club members who have low vision
 3
      disabilities. Each of the Club members above cannot use the websites controlled by
 4
      the Defendants. Modifications to Defendants’ websites will not fundamentally alter
 5
      the rental services provided and will also not cause an undue burden to Defendants,
 6
      because the cost is less than One Thousand Dollars ($1,000).
 7
      15.   On October 30, 2022, and on a second subsequent date, Plaintiff Club
 8
      attempted to make a request to the Defendants for reasonable accommodation at the
 9
      property. On November 16, 2022, the named individual Plaintiff LEE and Plaintiff
 10
      Club emailed to the Defendants a written request for a reasonable accommodation.
 11
      In November, 2022, Plaintiff LEE and Plaintiff Club, mailed a written request for a
 12
      reasonable accommodation. Defendants failed to respond to both Plaintiffs requests
 13
      for reasonable accommodation as of the date of the filing of this Civil Complaint.
 14
      16.   Plaintiffs are not able to access Defendants rental services due to existing
 15
      overt and obvious communication and physical barriers to access Defendants’ rental
 16

 17
      services both at its online website and at the physical office. Due to the overt and

 18
      obvious physical barriers as alleged herein below, which are required to be removed,

 19
      Plaintiffs requested that Defendants accommodate them to provide access to

 20
      Defendants’ rental services.
      17.   The named Plaintiffs allege that an accommodation is also obvious when a
 21
      whole group of the protected persons requires it. For example, when the public
 22

 23
      without disabilities are required to get up to a second level, the public would be very

 24
      disturbed if they were required to request steps to go up to second level. When the

 25
      accommodation is specific to a particular person with a disability, then that person

 26
      may be required to make a request, because the accommodation is not obvious.

 27

 28

                       7
                                                                                 COMPLAINT
                                                                                    CASE #
Case 2:22-cv-08483-SVW-SK Document 1 Filed 11/19/22 Page 8 of 30 Page ID #:8



 1
      18.   Plaintiffs allege that they are not required to make a request for reasonable
 2
      accommodation and for auxiliary aids when the barriers to communication are overt
 3
      and obvious. However, in the present case, Plaintiffs did make such requests for
 4
      accommodation to eliminate overt and obvious barriers to its rental services
 5
      communications. Plaintiffs allege that providing effective contact information for
 6
      Defendants’ rental services on the internet is an obvious accommodation. The
 7
      general public does not need to request a contact number from the Defendant
 8
      apartment owner or operator when they desire to rent a place. Defendants provide the
 9
      contact number on their website. Therefore, Plaintiffs allege that Defendants are
 10
      required to provide the obvious accommodation of effective communication for
 11
      people that are deaf or with speech impediment on their website without a request.
 12
      Defendants must make their rental services accessible without the need for a prior
 13
      request. Furthermore, Defendants have a duty to remove architectural barriers and
 14
      communication barriers to their rental services without request.
 15
      19. Plaintiffs allege that there is disparate treatment on the internet related to the
 16
      amenities being offered to people without disabilities and people with disabilities.
 17
      All the below facts and the facts stated elsewhere herein have a disparate impact on
 18
      the disability community. The named Plaintiffs experienced and have knowledge of
 19
      the below facts that the Plaintiffs ascertained from Defendants’ websites. Defendant
 20
      operates an apartment property. The property is located at 3729 Mclaughlin Ave, Los
 21
      Angeles, CA 90066. The property was built in 1958 and has 2 stories with 26 units.
 22

 23
      The rent is approximately: $1500 to $2000. The internet provides a wealth of

 24
      information regarding the property. The internet advertises that the property has

 25
      amenities that include: Community Amenities: Laundry Facilities; Apartment

 26
      Features: High Speed Internet Access, Heating, Smoke Free, Cable Ready, Kitchen,

 27
      Oven, Range, Refrigerator, Carpet; Parking: Surface Lot $1, 1 space, Assigned

 28

                       8
                                                                                   COMPLAINT
                                                                                      CASE #
Case 2:22-cv-08483-SVW-SK Document 1 Filed 11/19/22 Page 9 of 30 Page ID #:9



 1
      Parking; Application Fee: $30; Utilities Included: Water, Trash Removal, Sewer.
 2
      The property advertises on zillow.com, apartmentfinder.com, westsiderentals.com,
 3
      redfin.com, apartmenthomeliving.com, trulia.com. It is very important to know that
 4
      on zillow.com, apartmentfinder.com, westsiderentals.com, redfin.com,
 5
      apartmenthomeliving.com, trulia.com there is the equal housing opportunity logo.
 6
      The plaintiff alleges that there is disparate treatment on the internet related to the
 7
      amenities being offered to people without disabilities and people with disabilities.
 8
      For example, the tow signage was not installed. The accessible parking space had an
 9
      access aisle, which was not van accessible. The aisle did not have the “no parking”
 10
      included in the access aisle. The office had a high threshold. There was no
 11
      International Symbol of Accessibility signage. The Internet does not state the
 12
      accessible amenities at all. Also, the statement the “equal housing opportunity
 13
      statement” is misleading. In fact, the property is not completely accessible. All the
 14
      above facts and the facts stated herein have a disparate impact on the disability
 15
      community.
 16

 17
      20.   On Defendants’ websites, they allow the public without deafness and without

 18
      speech impairments to participate by providing them with a telephone number to

 19
      call. However, Plaintiff Club members that are deaf and or with speech impairments

 20
      are denied equal access to participate because the Defendants do not have any

 21
      effective communication.

 22
      21.   Defendants provide websites for people without disabilities to benefit from the

 23
      rental services without going to the apartments to learn about the properties.

 24
      However, for people with disabilities that require the access to the facility, the
 25   Defendants do not provide any information on the websites regarding if the office on
 26   or off the site is accessible. Moreover, the Defendants provide the telephone number
 27   for the public to call to inquire about the rental services without providing any
 28

                       9
                                                                                   COMPLAINT
                                                                                      CASE #
Case 2:22-cv-08483-SVW-SK Document 1 Filed 11/19/22 Page 10 of 30 Page ID #:10



  1
       effective alternative communications for Plaintiffs and other people that are deaf or
  2
       have speech impairments.
  3
       22.   For people without disabilities, the Defendants provide all of the information
  4
       on their websites. For Plaintiffs with disabilities, Defendants require them to travel to
  5
       the Property to determine if it is accessible, then require them to request the effective
  6
       communication, and then thereafter to request a reasonable accommodation to the
  7
       overt and obvious communication barrier. Therefore, Defendants require Plaintiffs
  8
       and other people with disabilities to suffer a separate benefit.
  9
       23.   Additionally, the named Plaintiffs are alleging photograph discrimination
  10
       related to the physical access of each of the apartments within Exhibit B to this
  11
       complaint. The purpose of Defendants’ internet photographs is to entice perspective
  12
       renters to apply online or to contact the Defendants to rent a place. Defendants’
  13
       internet photographs only entice people without mobility disabilities. Defendants’
  14
       internet photographs exclude any photographs of any accessible features that would
  15
       aid the Plaintiffs. For example, there is no photograph of accessible parking. There
  16

  17
       are no photographs of the accessible route to the office on or off the site. There are

  18
       photographs of the accessible route to the manager's office. There are no photographs

  19
       related to the access to get into and use the rental or manager's office. There are no

  20
       photographs related to the accessible route of the common area. There are no

  21
       photographs of the accessible units. In fact, all the photographs lead a person with a

  22
       mobility disability to believe that the apartments are not accessible, or that they must

  23
       have someone go to the properties to make sure it is accessible. However, people

  24
       without disabilities are not required to go to the Property to see if it is accessible.
  25   24.   Defendants websites and Defendants’ rental services are not integrated for
  26   people with disabilities as required. Plaintiffs are required to request an
  27   accommodation. People without disabilities can access the websites and the rental
  28

                        10
                                                                                     COMPLAINT
                                                                                        CASE #
Case 2:22-cv-08483-SVW-SK Document 1 Filed 11/19/22 Page 11 of 30 Page ID #:11



  1
       services without any problem, but Plaintiffs and other people with disabilities are
  2
       required to request for separate rental services. People with mobility conditions are
  3
       not integrated when using the websites because they must go to the apartments to
  4
       determine if they are accessible, but people without disabilities need only access
  5
       Defendants’ websites to determine they can use them. People that are blind and with
  6
       low vision disabilities must request help to read the website information because the
  7
       printed information is too small, but people without disabilities can access the
  8
       websites without asking for help. Plaintiffs and other people with deafness or people
  9
       with speech condition must ask for help calling the number on the websites, because
  10
       Defendants fail to provide a TTY number to contact, or Defendants fail to provide a
  11
       texting system. Defendants discriminated against the Plaintiffs.
  12
       25.   Plaintiff Club member went to Defendant’s apartment facilities at the Property
  13
       in October, 2022, and on a second subsequent date, to access the rental services. The
  14
       Named Individual Plaintiff has actual knowledge of Defendants’ overt and obvious
  15
       physical barriers, that relate to this Plaintiff’s disabilities, to Defendants’ Property
  16
       on-site rental services that this Named Individual Plaintiff intended to visit in
  17
       October, 2022, and on a second subsequent date, but this Plaintiff was deterred from
  18
       accessing Defendant’s rental services located on the Property. Defendants provide
  19
       rental information, rental applications, and other rental services on-site at the
  20
       Property. Defendants’ agents confirmed to the Plaintiffs that rental information,
  21
       rental applications, and other rental services were available on-site at the Property.
  22
       Defendants’ rental services at the Property are not accessible. Defendants’ path of
  23
       travel from the sidewalk to the rental services is not accessible since it has and step
  24
       changes in level along the path. The main entrance door leading into the complex is
  25
       not accessible due to a significant step change in level at the main entrance door
  26
       threshold that is not beveled or ramped. Defendant’s callbox is located too high to
  27
       be accessible. Defendants do not provide the required directional signage as to the
  28

                        11
                                                                                     COMPLAINT
                                                                                        CASE #
Case 2:22-cv-08483-SVW-SK Document 1 Filed 11/19/22 Page 12 of 30 Page ID #:12



  1
       designated path of travel from the sidewalk to Defendant’s rental services.
  2
       Defendant’s rental services entrance is not accessible due to a significant step change
  3
       in level at the rental services door threshold that is not beveled or ramped. The
  4
       Named Individual Plaintiff has a mobility disability and these step changes in level
  5
       and the other stated issues cause the path of travel and the rental services entry to be
  6
       not accessible. Defendants failed to provide any directional signage indicating an
  7
       alternate accessible path of travel to the rental services. Defendants failed to provide
  8
       the required fully compliant van accessible disabled parking for the rental services.
  9
       Defendants failed to provide a dimensionally compliant van accessible disabled
  10
       parking space and disabled parking access aisle, the required disabled parking
  11
       signage, including tow away signage, fine signage, ground markings, and failed to
  12
       locate said parking on a level surface and nearest the rental services. Defendants
  13
       also failed to provide compliant tow away signage. The Named Individual Plaintiff
  14
       requires the use of a compliant van accessible disabled parking space to safely exit
  15
       and re-enter the vehicle. Defendants’ failure to provide the required compliant
  16
       disabled parking, disabled parking access aisle, disabled parking disability signage,
  17
       access aisle, and disability ground markings, such that the Named Individual Plaintiff
  18
       is not able to safely park at Defendants’ establishment since the individual Plaintiff
  19
       may be precluded from exiting or re-entering the vehicle if the disabled parking and
  20
       disabled parking signage is not present and others park improperly. Additionally,
  21
       Defendants failed to provide the required accessible path of travel from the parking
  22
       area to the rental services since the existing path of travel has step changes in level.
  23
       Additionally, Defendants overt and obvious communication barriers were also
  24
       present at the rental services in October, 2022, and on a second subsequent date.
  25
       Defendants failed to provide any method of text communication with their rental
  26
       services and failed to publish any information as to how to initiate text
  27
       communication contact. The Named Individual Plaintiff had actual knowledge of
  28

                        12
                                                                                    COMPLAINT
                                                                                       CASE #
Case 2:22-cv-08483-SVW-SK Document 1 Filed 11/19/22 Page 13 of 30 Page ID #:13



  1
       these barriers at Defendants’ Property that Plaintiff intended to visit, and the Named
  2
       Individual Plaintiff was deterred from accessing Defendants’ rental services at the
  3
       Property again in November, 2022. See Property photos in Exhibit B and Exhibit C.
  4
       26.   Plaintiff Club and the named Individual Plaintiff desire to make sure that
  5
       Defendants’ rental services at Defendants’ physical office location and Defendants’
  6
       websites are fully accessible to Plaintiff Club’s members, the named Individual
  7
       Plaintiff, and other people with disabilities. Plaintiff Club, its Club members, and the
  8
       named Individual Plaintiff all have actual knowledge of Defendants’ discriminatory
  9
       conditions, and they are currently deterred from attempting further access until the
  10
       barriers are removed. Plaintiff Club and the named Individual Plaintiff intend to
  11
       return to Defendants’ Property and Defendants websites at the end of this action to
  12
       obtain rental services, and to verify that the communication and architectural barriers
  13
       are removed. The named Plaintiffs’ intent to return is genuine. In this case, Plaintiff
  14
       Club has numerous members residing near Defendants Property. Plaintiff Club’s
  15
       members have actual knowledge of the discriminatory conditions as alleged herein
  16
       when the Plaintiff Club investigated the Property and the rental services and
  17
       determined that the Club members would not be able to use the rental services due to
  18
       the discriminatory conditions. Therefore, Plaintiff Club members were and are
  19
       deterred from visiting the properties. Plaintiff Members were not required to
  20

  21
       actually visit the properties. See Civil Rights Education & Enforcement Center v.

  22
       Hospitality Properties Trust, 867 F.3d 1093 (9th Cir. 2017). However, a member of

  23
       Plaintiff Cub did visit and attempt to access Defendants’ rental services at

  24
       Defendants’ physical office at the Property. Plaintiff Club and the individual

  25
       Plaintiff have specific plans to visit at the conclusion of this case to obtain rental

  26
       information and to verify the Defendants ceased its discriminatory conduct by

  27
       removing communication and physical barriers to access to the rental services.
  28

                        13
                                                                                    COMPLAINT
                                                                                       CASE #
Case 2:22-cv-08483-SVW-SK Document 1 Filed 11/19/22 Page 14 of 30 Page ID #:14



  1
        DISCRIMINATORY PRACTICES IN HOUSING ACCOMMODATIONS –
  2
       FAIR HOUSING ACT CLAIMS
  3
       27.   FHA Standing:
  4
             Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
  5
       complaint, Defendants discriminated against Plaintiffs in violation of FHA sections §
  6
       3604(f)(1- 3) and 42 § 3604(c), as further detailed below. As a result, the present
  7
       named Plaintiffs suffered injury as a result of Defendants discriminatory actions, and
  8
       named Plaintiffs now pray for damages, injunctive relief, declaratory relief, and
  9
       other relief as hereinafter stated. The Federal Fair Housing Act applies to
  10
       Defendants’ apartment complex since it has more than 4 residential units. FHA
  11
       standing is substantially broader than standing under the ADA due to the critically
  12
       important need of adequate availability of housing for the disabled. A potential
  13
       plaintiff is not even required to have an interest in renting a particular property or
  14
       dwelling to have standing. Smith v. Pacific Properties and Development Corp, 358
  15
       F.3d 1097, 1099 (9th Cir 2004) [Testers have standing to bring Fair Housing Act
  16
       claims, Id 1099, 1104]. Under the Act, any person harmed by discrimination,
  17
       whether or not the target of the discrimination, can sue to recover for his or her own
  18
       injury. See Trafficante v. Metropolitan Life Ins. Co., 409 U.S. 205, 212, 93 S.Ct. 364,
  19
       34 L.Ed.2d 415 (1972). “This is true, for example, even where no housing has
  20
       actually been denied to persons protected under the Act.” San Pedro Hotel v City of
  21
       Los Angeles, 159 F.3d 470, 474-475 (9th Cir 1998). In the present case, the named
  22
       Plaintiffs alleged they suffered the injury of discriminatory conduct by Defendants,
  23
       and that the named Plaintiffs suffered monetary and other damages as a result. The
  24
       named Plaintiffs seek injunctive relief as well as damages, both of which are
  25
       available under 42 USC § 3613(c). Assuming arguendo in the present case, that
  26
       prospective injunctive relief was not available to Plaintiffs due to mootness or
  27
       otherwise, which Plaintiffs dispute; the named Plaintiffs are still permitted to recover
  28

                        14
                                                                                    COMPLAINT
                                                                                       CASE #
Case 2:22-cv-08483-SVW-SK Document 1 Filed 11/19/22 Page 15 of 30 Page ID #:15



  1
       damages under their federal FHA claims. Harris v Itzakhi, 183 F.3d 1043, 1050 (9th
  2
       Cir 1999) [During the appeal in Harris case, the plaintiff therein moved Three
  3
       Thousand (3000) miles away and her injunctive claims became moot. However,
  4
       Plaintiff’s claim for damages survived and was not affected]. In the present case,
  5
       while Plaintiffs can satisfy the injunctive relief prudential standing requirements, the
  6
       above Ninth Circuit Harris court authority makes it clear that those prudential
  7
       standing requirements for injunctive relief are not applicable to Plaintiffs FHA
  8
       damage claims. Hence, in the present case, Plaintiffs damage claims survive even if
  9
       prospective injunctive relief is not available. The present Plaintiff Club has
  10
       organization standing separately on its own under the FHA. Additionally, under the
  11
       FHA, Plaintiff Club has associational standing to assert its Club member claims
  12
       since it only seeks injunctive and declaratory relief as to its Club members. Plaintiff
  13
       Club and the named Individual Plaintiff have standing with respect to the following
  14
       FHA claims.
  15

  16
       CLAIM I: Discrimination In Violation of 42 § 3604(f)(1) - Failure To Have A
  17
       Policy For Receiving Prospective Tenant Accommodation Requests, Failure To
  18
       Train Staff, And Failure To Make The Policy Known To The Plaintiffs
  19
       28.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
  20
       complaint, the named Plaintiffs suffered discrimination by Defendants in violation of
  21
       this FHA section. This FHA statute states it is unlawful to discriminate in the sale or
  22
       rental, or to otherwise make unavailable or deny, a dwelling to any buyer or renter
  23
       because of a handicap of (A) that buyer or renter; (B) a person residing in or
  24
       intending to reside in that dwelling after it is so sold, rented, or made available; or…
  25
       §3604(f)(1) [emphasis added]. See Texas Dept. of Housing and Community Affairs
  26
       v Inclusive Communities Project, 135 S.Ct. 2507, 2519 (2015) [FHA statutory
  27
       scheme permits disparate impact claims, and those type of claims do not require
  28

                        15
                                                                                   COMPLAINT
                                                                                      CASE #
Case 2:22-cv-08483-SVW-SK Document 1 Filed 11/19/22 Page 16 of 30 Page ID #:16



  1
       intent]. due to Defendants’ communication and architectural barriers, Defendants
  2
       discriminated against Plaintiffs by failing to have a policy, practice, or method for
  3
       Plaintiffs to make a reasonable accommodation request for equal access to their
  4
       rental services on their website or at their on-site office at the Property. Defendants
  5
       have an affirmative duty to have a policy, process to receive such accommodation
  6
       requests and to respond to said requests. See Giebeler v. M & B Associates, 343 F.3d
  7
       1143 (9th Cir. 2003). As a result, Defendant caused Plaintiffs to suffer disparate
  8
       impact discrimination.
  9

  10
       CLAIM II: Failure to Engage in Interactive Process In Violation Of The Fair
  11
       Housing Act And California Fair Employment And Housing Act
  12
       29.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
  13
       complaint, Plaintiffs suffered discrimination by Defendants in violation of FHA
  14
       section § 3604(f)(1) and § 3604(f)(2). Plaintiffs contend that Defendant failed to
  15
       engage in a good-faith interactive process to determine and to implement effective
  16
       reasonable accommodations so that Plaintiffs could gain equal access Defendants’
  17
       rental services, to apply for a lease, or to allow Plaintiffs to access Defendants’
  18
       physical office on or off the site and apartments.
  19
       CLAIM III: Discrimination In Violation of 42 § 3604(f)(2)
  20
       30.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
  21
       complaint, the named Plaintiffs suffered discrimination by Defendants in violation of
  22
       this FHA section § 3604(f)(2). This FHA section states “it shall be unlawful to
  23
       discriminate against any person in the terms, conditions, or privileges of sale or
  24
       rental of a dwelling, or in the provision of services or facilities in connection with
  25
       such dwelling”. Plaintiffs more specific factual basis for this claim is set forth
  26
       above at ¶¶23-26 above. As previously stated, the named Individual Plaintiff was a
  27
       prospective renter and Plaintiff Club was also seeking rental housing on behalf of the
  28

                        16
                                                                                   COMPLAINT
                                                                                      CASE #
Case 2:22-cv-08483-SVW-SK Document 1 Filed 11/19/22 Page 17 of 30 Page ID #:17



  1
       named Individual Plaintiff ¶¶8 – 26 above. In the instant case, Defendant’s office
  2
       located on the Property is a “facility” in connection with the rental of a dwelling and
  3
       the on-site rental services provided within the office fall within the FHA statute. In
  4
       the instant case, the named Plaintiffs both assert that Defendant’s failure to remove
  5
       communication and architectural barriers to permit access to Defendant’s on-site
  6
       rental services contained within the office is a separate, independent, actionable
  7
       violation of this FHA section § 3604(f)(2), even without reference to the ADA as a
  8
       predicate. Plaintiffs have alleged that Defendants’ Property has overt and obvious
  9
       physical barriers to access its rental services provided in its on-site office. See ¶¶25 -
  10
       26. The 9th Circuit Smith court stated that the mere observation of overt architectural
  11
       barriers is actionable. Smith at 1104 [“To read an additional standing requirement
  12
       into the statute beyond mere observation, however, ignores that many overtly
  13
       discriminatory conditions, for example, lack of a ramped entryway, prohibit a
  14
       disabled individual from forming the requisite intent or actual interest in renting or
  15
       buying for the very reason that architectural barriers prevent them from viewing the
  16
       whole property in the first instance” (emphasis in original)]. The Smith court found
  17
       Defendants liable under this FHA subsection even though that case did not involve
  18
       ADA Title III claims. However, Plaintiffs did not just allege that Plaintiff Club
  19
       observed Defendant’s overt architectural barriers, but Plaintiffs alleged that a
  20
       Plaintiff Club member experienced the barriers, that the named Individual Plaintiff
  21
       had actual knowledge of Defendants’ communication and architectural barriers and
  22
       Plaintiff LEE was deterred from obtaining equal access to Defendant’s office facility
  23
       and its rental services located therein. Defendants also discriminated against
  24
       Plaintiffs by failing to modify its practices and policies to provide access via other
  25
       methods of access to its rental services contained within the office on or off the site.
  26
       Defendant’s failure to remove the architectural and communication barriers to access
  27
       its facilities and the rental services located therein, or to provide an accommodation
  28

                        17
                                                                                   COMPLAINT
                                                                                      CASE #
Case 2:22-cv-08483-SVW-SK Document 1 Filed 11/19/22 Page 18 of 30 Page ID #:18



  1
       to provide methods of alternate access to the office facility, providing rental services
  2
       constitutes the prohibited discrimination, separately and independently.
  3
       Additionally, Defendant’s conduct is also prohibited under ADA Title III and
  4
       constitutes a second, separate, independent source of discrimination against Plaintiffs
  5
       in violation of FHA § 3604(f)(2). Since Defendants discriminatory conduct involves
  6
       Defendants’ rental facilities and its rental services located therein, Plaintiffs assert
  7
       any discriminatory conduct found in violation of ADA Title III also constitutes
  8
       prohibited “discrimination” under FHA § 3604(f)(2).
  9
       CLAIM IV: Discrimination In Violation of 42 § 3604(f)(3)(A and B only)
  10
       31.   Plaintiffs do not make any claim against Defendants for a failure to “design
  11
       and construct” pursuant to § 3604(f)(3)(C). Based on the facts plead at ¶¶ 8 - 26
  12
       above and elsewhere herein this complaint, Plaintiffs suffered discrimination by
  13
       Defendants in violation of FHA sections § 3604(f)(3)(A, B) only. The FHA requires
  14
       that “….[f]or the purposes of this subsection, discrimination includes-- (B) a refusal
  15
       to make reasonable accommodations in rules, policies, practices, or services, when
  16
       such accommodations may be necessary to afford such person equal opportunity to
  17
       use and enjoy a dwelling...” 42 § 3604(f)(3)(B). See also Giebeler v. M & B
  18
       Associates, 343 F.3d 1143 (9th Cir 2003). Defendants improperly refused Plaintiffs’
  19
       repeated written and other requests for an accommodation to have equal access to its
  20
       rental services.
  21
       CLAIM V: Discrimination In Violation of 42 § 3604(c) As To NSA
  22
       32.   Based on information, belief, and the facts plead at ¶¶ 8 – 26 above and
  23
       elsewhere herein, Plaintiffs herein alleges that Defendants caused Plaintiffs to suffer
  24
       the injury of discrimination since Defendants violated 42 U.S.C. §§ 3604 (c) with
  25
       respect to its notices, statements, and advertisements (“NSA”). Plaintiffs allege that
  26
       Defendants discriminated against them when Defendants made, printed, or
  27

  28

                          18
                                                                                     COMPLAINT
                                                                                        CASE #
Case 2:22-cv-08483-SVW-SK Document 1 Filed 11/19/22 Page 19 of 30 Page ID #:19



  1
       published, or caused to be made printed, or published notices, statements, or
  2
       advertisements (“NSA”) that suggest to an ordinary reader a preference to attract
  3
       tenants without disabilities. Defendants' Internet advertising regarding its rental
  4
       services has an unlawful disparate impact on Plaintiffs.
  5

  6
       SECOND CAUSE OF ACTION : Violation of California Fair Housing Act
  7
       33.     Failure to Provide Obvious Reasonable Accommodation and Modification:
  8
       Based on information, belief and the facts stated above at ¶¶ 8 – 26 above and
  9
       elsewhere in this complaint, Plaintiffs allege that Defendants refused to make
  10
       reasonable accommodations in rules, policies, practices, or services in violation of
  11
       CA Government Code sections 12927 and 12955.2, when these accommodations
  12
       may be necessary to afford a disabled person equal opportunity to use and enjoy
  13
       Defendants’ rental services. As stated in detail above, Defendants refused to make
  14
       reasonable accommodations with the instant Plaintiffs and discriminated against each
  15
       of them on the basis of disability.
  16

  17
       THIRD CAUSE OF ACTION AGAINST ALL DEFENDANTS- Claims Under
  18
       The Americans With Disabilities Act Of 1990
  19
       34.   ADA Standing:
  20
             ADA Title III does cover public and common use areas at housing
  21
       developments when these public areas are, by their nature, open to the general
  22
       public. An office providing rental services is open to the general public. (See U.S.
  23
       Department of Justice - ADA Title III Technical Assistance Section III-1.2000,
  24
       Illustration 3, office on or off the site covered). The parking and paths of travel to
  25
       the office on or off the site are also covered. See Section III–1.2000, ADA Title III
  26
       Technical Assistance Manual, http://www.ada.gov/taman3.html (“ILLUSTRATION
  27

  28

                        19
                                                                                   COMPLAINT
                                                                                      CASE #
Case 2:22-cv-08483-SVW-SK Document 1 Filed 11/19/22 Page 20 of 30 Page ID #:20



  1
       3: A private residential apartment complex contains a office on or off the site. The
  2
       office on or off the site is a place of public accommodation”). See Kalani v Castle
  3
       Village, LLC, 14 F.Supp.3d 1359, 1371 (E.D.Cal, 2014)[ citing Johnson v. Laura
  4
       Dawn Apartments, LLC, 2012 WL 33040 at *1 n. 1 (E.D.Cal.2012) (Hollows, M.J.)
  5
       (“[t]he leasing office of an apartment is a place of public accommodation.] . In the
  6
       present case, the named Plaintiffs have sufficiently alleged that Defendants have an
  7
       office at the Property that provides rental services. Following prior sister Circuit
  8
       Courts of Appeals decisions, our Ninth Circuit Court very recently held that an ADA
  9
       Plaintiff can be only a “tester” and have standing. See Civil Rights Education &
  10
       Enforcement Center v. Hospitality Properties Trust, 867 F.3d 1093 (9th Cir. 2017)
  11
       [the Ninth Circuit CREEC court held (1) ADA “tester” standing is valid and a
  12
       Plaintiff’s motivation for visit is “irrelevant”, and (2) an ADA “deterrent effect
  13
       doctrine” claim does not require a Plaintiff to have a personal encounter with the
  14
       barrier to equal access, only to have knowledge of the barrier] citing Havens Realty
  15
       Corp. v. Coleman, 455 U.S. 363, 372–74, 102 S.Ct. 1114 (1982); Smith v. Pacific
  16
       Properties and Development Corp, 358 F.3d 1097, 1102-1104 (9th Cir 2004);
  17
       Chapman v. Pier 1 Imports (U.S.) Inc., 631 F.3d 939 (9th Cir 2011, en banc);
  18
       Houston v. Marod Supermarkets, Inc., 733 F.3d 1323, 1335–37 (11th Cir. 2013);
  19
       Colo. Cross Disability Coal. v. Abercrombie & Fitch Co., 765 F.3d 1205, 1210–11
  20
       (10th Cir. 2014). In the present case, the named Plaintiffs each have ADA standing.
  21
       Plaintiffs have alleged that Defendants discriminated against Plaintiffs in violation of
  22
       ADA Title III statutes and regulations as detailed further in the ADA claims stated
  23
       below. As a result, the named Plaintiffs have each suffered injury and each seek
  24
       only injunctive and declaratory relief pursuant to their ADA Claims.
  25
       CLAIM I: Auxiliary Aids – Failure To Effectively Communicate
  26
       35.   42 United States Code 12182(b)(2)(iii) states, "a failure to take such steps as
  27
       may be necessary to ensure that no individual with a disability is excluded, denied
  28

                        20
                                                                                  COMPLAINT
                                                                                     CASE #
Case 2:22-cv-08483-SVW-SK Document 1 Filed 11/19/22 Page 21 of 30 Page ID #:21



  1
       services, segregated or otherwise treated differently than other individuals because of
  2
       the absence of auxiliary aids and services, unless the entity can demonstrate that
  3
       taking such steps would fundamentally alter the nature of the good, service, facility,
  4
       privilege, advantage, or accommodation being offered or would result in an undue
  5
       burden;..." Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this
  6
       complaint, Plaintiffs are informed, believe, and thereon allege that Defendants
  7
       violated said provision. Plaintiffs set forth the factual basis for this claim most
  8
       specifically at ¶¶ 13 -14, 16-24 above. The ADA “applies to the services of a place
  9
       of public accommodation, not services in a place of public accommodation. To limit
  10

  11
       the ADA to discrimination in the provision of services occurring on the premises of a

  12
       public accommodation would contradict the plain language of the statute.” Nat’l

  13
       Fed’n of the Blind v. Target Corp., 452 F. Supp. 2d 946, 953 (N.D. Cal. 2006)

  14
       (emphasis added) (citing Weyer v. Twentieth Century Fox Film Corp., 198 F.3d

  15   1104, 1115 (9th Cir. 2000) [holding that “whatever goods or services the place
  16   provides, it cannot discriminate on the basis of disability in providing enjoyment of
  17   those goods and services”]). An ADA plaintiff may challenge a business’ online
  18   offerings as well. So long as there is a “nexus”—that is, “some connection between
  19   the good or service complained of and an actual physical place”—a plaintiff may
  20   challenge the digital offerings of an otherwise physical business. See Gorecki v.
  21   Hobby Lobby Stores, Inc, 2017 WL 2957736, at *4 (C.D. Cal. June 15, 2017) [Case:
  22   CV 17–1131–JFW (SKx)]. The ADA requires the Defendants to provide effective
  23   communication to the instant Plaintiffs and to people with disabilities. In the
  24   present case, Plaintiffs experienced and have knowledge that Defendants failed to
  25   have a required procedure to provide effective communication. Plaintiffs allege that
  26   Defendants failed to train their staff on the way to use the auxiliary aids. Defendants
  27   did not provide any auxiliary aid and the Defendants did not provide any reasonable
  28

                        21
                                                                                    COMPLAINT
                                                                                       CASE #
Case 2:22-cv-08483-SVW-SK Document 1 Filed 11/19/22 Page 22 of 30 Page ID #:22



  1
       accommodation to the overt and obvious communication barriers, and failed to
  2
       respond to Plaintiffs’ requests for accommodation. Plaintiffs are not demanding that
  3
       Defendants provide a specific reasonable accommodation or a specific auxiliary aid.
  4
       ADA law allows the Defendants to decide what auxiliary aid and reasonable
  5
       accommodation will be provided. In this case, however, Defendants failed to
  6
       provide any reasonable accommodation for the overt and obvious communication
  7
       barriers to equal access to their rental services, failed to provide any auxiliary aid,
  8
       and failed to provide any effective communication. Plaintiffs allege that Defendants’
  9
       websites provide a contact number for the general public, but Defendants failed to
  10

  11
       provide Plaintiffs with the required effective communication using texting or other

  12
       alternate means of communication for Plaintiffs and other people with a deaf

  13
       condition or a speech condition. Defendants’ conduct discriminates against Plaintiff

  14
       Club’s members that have hearing disabilities and Club’s members with speech

  15   disabilities. Defendants are required to provide, on Defendants’ websites, to provide
  16   a method to effectively communicate with Plaintiff Club members that have hearing
  17   and speech disabilities, and other people that are deaf or have speech impairments.
  18   CLAIM II: Denial of Participation
  19   36.   42 United States Code 12182(b)(1)(A)(i) states, "It shall be discriminatory to
  20   subject an individual or class of individuals on the basis of a disability or disabilities
  21   of such individual or class, directly, or through contractual, licensing, or other
  22   arrangements, to a denial of the opportunity of the individual or class to participate in
  23   or benefit from the goods, services, facilities, privileges, advantages, or
  24   accommodations of an entity." Based on the facts plead at ¶¶ 8 - 26 above and
  25   elsewhere in this complaint, Plaintiffs are informed, believe, and thereon allege that
  26   Defendants violated said provision. Plaintiffs set forth the factual basis for this claim
  27   most specifically at ¶¶ 20-24 above. Defendants discriminated against Plaintiffs in
  28

                        22
                                                                                     COMPLAINT
                                                                                        CASE #
Case 2:22-cv-08483-SVW-SK Document 1 Filed 11/19/22 Page 23 of 30 Page ID #:23



  1
       violation of 42 United States Code 12182(b)(1)(A)(i) and 42 U.S.C. § 12188.
  2
       CLAIM III: Participation in Unequal Benefit
  3
       37.   Defendants provide unequal benefit for people with disabilities in violation of
  4
       42 United States Code 12182(b)(1)(A)(ii) and 42 U.S.C. § 12188. Based on the facts
  5
       plead at ¶¶ 8 - 26 above and elsewhere in this complaint, Plaintiffs are informed,
  6
       believe, and thereon allege that Defendants discriminated against Plaintiffs in
  7
       violation of said provision. Plaintiffs set forth the factual basis for this claim most
  8
       specifically at ¶¶ 20-24 above.
  9
       CLAIM IV: Separate Benefit
  10

  11
       38.   Defendants’ photographs discriminate against Plaintiffs in violation of 42

  12
       United States Code 12182(b)(2)(A)(iii) and 42 U.S.C. § 12188. Based on the facts

  13
       plead at ¶¶ 8 - 26 above and elsewhere in this complaint, Plaintiffs are informed,

  14
       believe, and thereon allege that Defendants discriminated against Plaintiffs in

  15   violation of said provision. Plaintiffs set forth the factual basis for this claim most
  16   specifically at ¶¶ 20-24 above.
  17   CLAIM V: Integrated Settings
  18   39.   Defendants’ rental services are not integrated for Plaintiffs and people with
  19   disabilities in violation of 42 United States Code 12182(b)(1)(B) and 42 U.S.C. §
  20   12188. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  21   Plaintiffs are informed, believe, and thereon allege that Defendants discriminated
  22   against Plaintiffs in violation of said provision. Plaintiffs set forth the factual basis
  23   for this claim most specifically at ¶¶ 20-24 above.
  24   CLAIM VI: Failure To Modify Practices, Policies And Procedures
  25   40.   Defendants failed and refused to provide a reasonable alternative by
  26   modifying its practices, policies, and procedures in that they failed to have a scheme,
  27   plan, or design to accommodate Plaintiff Club, its Club members, the individual
  28

                        23
                                                                                     COMPLAINT
                                                                                        CASE #
Case 2:22-cv-08483-SVW-SK Document 1 Filed 11/19/22 Page 24 of 30 Page ID #:24



  1
       named Plaintiff, and/or others similarly situated in utilizing Defendants' rental
  2
       services, at its websites and its office at the Property, in violation of 42 United States
  3
       Code 12182(b)(2)(A)(ii) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26
  4
       above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
  5
       allege that Defendants discriminated against Plaintiffs in violation of said provision.
  6
       Plaintiffs set forth the factual basis for this claim most specifically at ¶¶ 18-26 above.
  7
       CLAIM VII: Failure To Remove Architectural And Communication Barriers
  8
       41.   Plaintiffs allege that Defendants failed to remove architectural barrier and
  9
       communication barriers as required in violation of 42 United States Code
  10
       12182(b)(2)(A)(iv) and 42 U.S.C. § 12182. Based on the facts plead at ¶¶ 8 - 26
  11
       above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
  12
       allege that Defendants discriminated against the named Individual Plaintiff in
  13
       violation of said provision. Plaintiffs set forth the factual basis for this claim most
  14
       specifically at ¶¶ 8,9,20-24,25,26 above. The named Individual Plaintiff personally
  15
       reviewed all the information and photographs of Defendants’ property. As a result,
  16
       the named Individual Plaintiff has actual knowledge of the physical and
  17
       communication barriers that exist at Defendants’ Property. The named Individual
  18
       Plaintiff determined that the physical barriers that exist at Defendants’ property,
  19
       directly relate to his disabilities, and make it impossible or extremely difficult for
  20
       him to physically access Defendants’ rental services at the Property. The named
  21
       Individual Plaintiff was deterred by his actual knowledge of the physical and
  22
       communication barriers that exist at Defendants’ Property which include but are not
  23
       limited to the barriers to facilities for disabled parking, exterior path of travel to the
  24
       office, the office entrance, and office interior, since said Defendants’ facilities were
  25
       not accessible because they failed to comply with the Federal ADA Accessibility
  26
       Guidelines (“ADAAG”) and California's Title 24 Building Code Requirements. See
  27
       ¶¶ 25 for details. The named Individual Plaintiff had actual knowledge of these
  28

                        24
                                                                                     COMPLAINT
                                                                                        CASE #
Case 2:22-cv-08483-SVW-SK Document 1 Filed 11/19/22 Page 25 of 30 Page ID #:25



  1
       barriers and determined that it would be futile gesture for him to go to the Property
  2
       on the date that he had originally intended. The named Individual Plaintiff is
  3
       currently deterred from returning due to his knowledge of the barriers. At the end of
  4
       this action, the named Individual Plaintiff intends to return to Defendants’ physical
  5
       office on or off the site location to obtain rental information and verify that the
  6
       communication and physical barriers to Defendants’ rental services are removed.
  7
       Defendants failure to remove the barriers to equal access constitutes discrimination
  8
       against the named Individual Plaintiff.
  9
       CLAIM VIII: Failure To Make Alterations Readily Accessible And Usable
  10
       42.   Defendants are required to make alterations to their facilities in such a manner
  11
       that, to the maximum extent feasible, the altered portions of the facility are readily
  12
       accessible to and usable by individuals with disabilities, including individuals who
  13
       use devices pursuant to 42 U.S.C. §12183(a)(2). Based on the facts plead at ¶¶ 8 -
  14
       26 above and elsewhere in this complaint, the named Plaintiffs are informed, believe,
  15
       and thereon allege that Defendants violated this provision. Plaintiffs allege that
  16
       Defendants altered their facility in a manner that affects or could affect the usability
  17
       of the facility or a part of the facility after January 26, 1992. In performing the
  18
       alteration, Plaintiffs allege that Defendants failed to make the alteration in such a
  19
       manner that, to the maximum extent feasible, the altered portions of the facility are
  20
       readily accessible to and usable by individuals with disabilities, including individuals
  21
       who use devices, in violation of 42 U.S.C. §12183(a)(2).
  22
       CLAIM IX: Administrative Methods
  23
       43.   Plaintiffs are informed, believe, and thereon allege that Defendants contract
  24

  25
       with website providers without making sure that the websites will be accessible to

  26
       people with disabilities in violation of 42 United States Code 12182(b)(1)(B) and 42

  27
       U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this

  28

                        25
                                                                                    COMPLAINT
                                                                                       CASE #
Case 2:22-cv-08483-SVW-SK Document 1 Filed 11/19/22 Page 26 of 30 Page ID #:26



  1
       complaint, Plaintiffs are informed, believe, and thereon allege that Defendants
  2
       discriminated against the named Individual Plaintiff in violation of said provision.
  3
       Plaintiffs set forth the factual basis for this claim most specifically at ¶¶18-26 above.
  4
       CLAIM X: Screen Out
  5
       44.   Plaintiffs are informed, believe, and thereon allege that Defendants screened
  6
       out Plaintiffs and other people with disabilities in violation of 42 United States Code
  7
       12182(b)(2)(A)(i) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26
  8
       above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
  9
       allege that Defendants discriminated against the named Plaintiffs in violation of said
  10
       provision. Plaintiffs set forth the factual basis for this claim most specifically at ¶¶ 8
  11
       - 26 above. Defendants screened out the named Plaintiffs from its rental services and
  12
       processes, because Defendants failed to remove architectural and communication
  13
       barriers to its website and physical office, failed to provide required effective
  14
       alternate communication methods, and failed to provide required auxiliary aids.
  15
       CLAIM XI: Denial Of Full And Equal Access
  16
       45.   Defendants are required to provide full and equal access to Defendants' rental
  17
       services, goods, facilities, privileges, advantages, or accommodations pursuant to 42
  18

  19
       United States Code 12182(b) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶

  20
       8 - 26 above and elsewhere in this complaint, Plaintiffs are informed, believe, and

  21
       thereon allege that Defendants discriminated against the named Plaintiffs in violation

  22
       of said provision. Plaintiffs set forth the factual basis for this claim most specifically

  23
       at ¶¶ 8 - 26 above.

  24
       CLAIM XII: Failure To Investigate And Maintain Accessible Features
  25

  26   46.    Defendants made repairs and administrative changes which violated ADA and
  27   its regulations. See ADA Title III Regulations Sec.36.211 Maintenance of accessible
  28

                        26
                                                                                    COMPLAINT
                                                                                       CASE #
Case 2:22-cv-08483-SVW-SK Document 1 Filed 11/19/22 Page 27 of 30 Page ID #:27



  1
       features. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  2
       Defendants failed to provide and then maintain any accessible features in its parking,
  3
       path of travel, office on or off the site services and website rental services. Plaintiffs
  4
       are informed, believe, and thereon allege that Defendants discriminated against the
  5
       named Plaintiffs in violation of this provision.
  6

  7    CLAIM XIII: Association
  8
       47.    Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  9
       Plaintiffs are informed, believe, and thereon allege that Defendants discriminated
  10
       against the named Plaintiffs in violation of 42 U.S.C. § 12182(b)(1)(E)
  11
             DISCRIMINATORY PRACTICES IN PUBLIC ACCOMMODATIONS
  12
              FOURTH CAUSE OF ACTION: ONLY THE INDIVIDUALL NAMED
  13
       PLAINTIFF AGAINST ALL DEFENDANTS - CLAIMS UNDER CALIFORNIA
  14
                                     ACCESSIBILITY LAWS
  15
       CLAIM I: Denial Of Full And Equal Access
  16
       48.    Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint, the
  17
       named Individual Plaintiff was denied full and equal access to Defendants' goods.
  18

  19
       services, facilities, privileges, advantages, or accommodations within a public

  20
       accommodation owned, leased, and/or operated by Defendants as required by Civil

  21
       Code Sections 54, 54.1, and specifically 54.1(d). The factual basis for this claim is at

  22
       18-28 above.

  23
       CLAIM II: Failure To Modify Practices, Policies And Procedures

  24
       49.    Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,

  25
       the named Individual Plaintiff was denied full and equal access to Defendants' goods.

  26   Defendants failed and refused to provide a reasonable alternative by modifying its
  27   practices, policies, and procedures in that they failed to have a scheme, plan, or
  28

                         27
                                                                                    COMPLAINT
                                                                                       CASE #
Case 2:22-cv-08483-SVW-SK Document 1 Filed 11/19/22 Page 28 of 30 Page ID #:28



  1
       design to assist Plaintiff Members and/or others similarly situated in entering and
  2
       utilizing Defendants' services as required by Civil Code § 54.1. The factual basis for
  3
       this claim is at 18-28 above.
  4
       CLAIM III: Violation Of The Unruh Act
  5
       50.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  6
       the individual, the named Individual Plaintiff was denied full and equal access to
  7
       Defendants' goods. Defendants violated the CA Civil Code § 51 by specifically
  8
       failing to comply with Civil Code §51(f). Defendants' facility violated state
  9
       disability laws, the ANSI Standards, A117, and California's Title 24 Accessible
  10
       Building Code by failing to provide equal access to Defendants’ facilities.
  11
       Defendants did and continue to discriminate against Plaintiff Members in violation
  12
       of Civil Code §§ 51(f), and 52. The factual basis for this claim is at 18-28 above.
  13
                  Treble Damages Pursuant To California Accessibility Laws
  14
       51.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  15
       only the named Individual Plaintiff prays for an award of treble damages against
  16
       Defendants, and each of them, pursuant to California Civil Code sections 52(a) and
  17
       54.3(a). Defendants, each of them respectively, at times prior to and including the
  18
       day the named Individual Plaintiff attempted patronized Defendants’ facilities and
  19
       rental services, and continuing to the present time, knew that persons with physical
  20
       disabilities were denied their rights of equal access. Despite such knowledge,
  21
       Defendants, and each of them, failed and refused to take steps to comply with the
  22
       applicable access statutes; and despite knowledge of the resulting problems and
  23
       denial of civil rights thereby suffered by the named Individual Plaintiff. Defendants,
  24
       and each of them, have failed and refused to take action to grant full and equal access
  25
       to the individual Plaintiff in the respects complained of hereinabove. Defendants,
  26
       and each of them, have carried out a course of conduct of refusing to respond to, or
  27
       correct complaints about, denial of disabled access and have refused to comply with
  28

                        28
                                                                                 COMPLAINT
                                                                                    CASE #
Case 2:22-cv-08483-SVW-SK Document 1 Filed 11/19/22 Page 29 of 30 Page ID #:29



  1
       their legal obligations to make Defendants’ public accommodation facilities and
  2
       rental services accessible pursuant to the ADAAG and Title 24 of the California
  3
       Code of Regulations (also known as the California Building Code). Such actions
  4
       and continuing course of conduct by Defendants in conscious disregard of the rights
  5
       and/or safety of the named Individual Plaintiff justify an award of treble damages
  6
       pursuant to sections 52(a) and 54.3(a) of the California Civil Code.
  7

  8
                           DEMAND FOR JUDGMENT FOR RELIEF:
  9
       A.     All named Plaintiffs seeks injunctive relief pursuant to 42 U.S.C. 3613(c) and
  10
       42 U.S.C. § 12188(a). Only the named Individual Plaintiff seeks injunctive relief
  11
       pursuant to CA Civil Code §52. Pursuant to 42 U.S.C. 3613(c), all Plaintiffs request
  12
       this court to enjoin Defendants to cease their discriminatory practices in housing
  13
       rental services, rental housing management services, and for Defendants to
  14
       implement written policies and methods to respond to reasonable accommodation
  15
       and reasonable modification requests. Pursuant to 42 U.S.C. § 12188(a), Plaintiffs
  16
       request this Court enjoin Defendants to remove all barriers to equal access to the
  17
       disabled Plaintiffs in, at, or on their facilities, including but not limited to
  18
       architectural and communicative barriers in the provision of Defendants’ rental
  19
       services. Plaintiffs do not seek injunctive relief pursuant to Cal. Civil Code §55 and
  20
       Plaintiffs do not seek attorneys’ fees pursuant to Cal. Civil Code §55. Plaintiffs do
  21
       not seek any relief at all pursuant to Cal. Civil Code §55.
  22
       B.     All named Plaintiffs seek actual damages pursuant to 42 U.S.C. 3613(c).
  23
       However, Plaintiff Club only seeks damages for itself. Plaintiff Club does not seek
  24
       damages on behalf of its members;
  25
       C. Only the named Individual Plaintiff seeks recovery of actual damages pursuant
  26
       to Cal. Civil Code §§ 52 or 54.3;
  27
       D.     Only the named Individual Plaintiff seeks $4,000 in minimum statutory
  28

                         29
                                                                                      COMPLAINT
                                                                                         CASE #
Case 2:22-cv-08483-SVW-SK Document 1 Filed 11/19/22 Page 30 of 30 Page ID #:30



  1
       damages pursuant to Cal. Civil Code § 52 for each and every offense of Civil Code §
  2
       51, pursuant to Munson v. Del Taco, (June 2009) 46 Cal. 4th 661;
  3
       E.    In the alternative to the damages pursuant to Cal. Civil Code § 52 in Paragraph
  4
       C above, only the named individual Plaintiff seeks $1,000 in minimum statutory
  5
       damages pursuant to Cal. Civil Code § 54.3 for each and every offense of Civil Code
  6
       § 54.1;
  7
       F.    All named Plaintiffs seek attorneys' fees pursuant to 42 U.S.C. 3613(c)(2), 42
  8
       U.S.C. § 12205, and Cal. Civil Code §§ 52, 54.3;
  9
       G.    Only the named individual Plaintiff seeks treble damages pursuant to Cal.
  10
       Civil Code §§ 52(a) or 54.3(a);
  11
       H.    The named Plaintiffs are seeking perspective injunctive relief to require the
  12
       Defendants to provide obvious reasonable accommodations, to provide the required
  13
       auxiliary aids and to modify Defendants’ procedures, practices, and policies of the
  14
       Defendants in the provision of Defendants’ rental services. Without perspective
  15
       relief the Plaintiffs will suffer future harm.
  16
       I.    All named Plaintiffs seek a Jury Trial and;
  17
       J.    For such other further relief as the court deems proper.
  18

  19   Respectfully submitted:
  20
                                                        LIGHTNING LAW, APC
  21
       Dated: November 19, 2022
  22
                                                By:     /s/David C. Wakefield
  23                                                    DAVID C. WAKEFIELD, ESQ.
                                                        Attorney for Plaintiffs
  24

  25

  26

  27

  28

                        30
                                                                                 COMPLAINT
                                                                                    CASE #
